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                      UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF COLUMBIA

                                                     :
UNITED STATES OF AMERICA                             :
                                                     :
v.                                                   :   Case No. 21-cr-28 (APM)
                                                     :
KENNETH HARRELSON                                    :
                                                     :
               Defendant.                            :
                                                     :


                       MOTION FOR SUBSTITUTION OF COUNSEL

       COMES NOW undersigned counsel, Nina Ginsberg and Jeffrey Zimmerman, and move

this Honorable Court to substitute John Pierce as counsel of record and allow them to formally

withdraw from this case. In support of this motion, undersigned counsel states as follows:

       1.      On July 1, 2021, attorney John Pierce advised undersigned counsel that he had been

retained and would be substituting as counsel of record for Defendant Kenneth Harrelson. Mr.

Pierce filed an Appearance of Counsel form in this case that same day. See ECF 279.

       2.      Mr. Harrelson, Mr. Pierce, and undersigned counsel were present by video at a

remote Status Hearing in this matter on July 2, 2021. After undersigned counsel and Mr. Pierce

consulted privately with Mr. Harrelson, the Court was advised that Mr. Harrelson intended to

substitute Mr. Pierce as his counsel of record.

       3.      Ms. Ginsberg and Mr. Zimmerman are seeking to formally withdraw as counsel.

       A proposed order is attached for the Court’s convenience.

                                              Respectfully submitted,

                                              KENNETH HARRELSON
                                              By Counsel
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                                                    /s/
                                             Nina Ginsberg, Esquire
                                             DC Bar No. 251496
                                             DiMuroGinsberg, PC
                                             110 King Street, Suite 610
                                             Alexandria, VA 22314
                                             Telephone: (703) 684-4333
                                             Facsimile: (703) 548-3181
                                             Email Address: nginsberg@dimuro.com


                                                     /s/
                                             Jeffrey Zimmerman, Esquire
                                             DC Bar No. 38858
                                             Jeffrey Zimmerman, PLLC
                                             108 N. Alfred Street
                                             Alexandria, VA 22314
                                             Telephone: (703) 548-8911
                                             Facsimile: (703) 548-8935
                                             Email Address: www.zimpacer.com




                                CERTIFICATE OF SERVICE
       I hereby certify that on this 6th day of July 2021, a true and accurate copy of the foregoing
was electronically filed and served via the Court’s CM/ECF system to all counsel of record.


                                             ____________/s/_____________________
                                             JEFFREY D. ZIMMERMAN
